Case 8:24-cv-02556-DOC-ADS         Document 40     Filed 01/20/25     Page 1 of 5 Page ID
                                        #:580



   1   DAVID DWORAKOWSKI, CFLS, CALS (SBN: 135285)
       STEPHANE QUINN, CFLS (SBN: 278188)
   2   QUINN & DWORAKOWSKI, LLP
       2050 Main Street, 6th Floor, Suite 600
   3   Irvine, California 92614
       Telephone: (949) 660-1400
   4
       Attorneys for Petitioner CLAUDIA CIAMPA
   5
   6
                         UNITED STATES DISTRICT COURT
   7           CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DISTRICT
   8
   9   CLAUDIA CIAMPA.                         )   CASE NO.: 8:24-cv-02556-DOC-ADS
 10                                            )
                        Petitioner,            )
 11                                            )
                                               )
                                               )   PETITIONER’S SUMMARY OF EVIDENCE
 12                         vs.                )   SUPPORTING HAGUE CONVENTION
 13                                            )   ARGUMENTS
                                               )
 14                                            )
       ERIC HOWARD NICHOLS,                    )
 15                                            )
                         Respondent.           )
 16                                            )
                                               )
 17                                            )
                                               )
 18
 19          Pursuant to the Court’s January 15, 2025, Orders, Petitioner submits the
 20    following summary of evidence establishing a prima facie case of the child’s
 21    wrongful removal or retention by Respondent, proven by a preponderance of the
 22    evidence.
 23    a. Petitioner’s Affidavit
 24          At trial, Petitioner will testify consistent with her filed affidavit, that the
 25    minor child Ethan’s habitual residence is in Italy, and that on August 30, 2024,
 26    during his scheduled visitation, Respondent, without justification or consent,
 27    abducted Ethan and wrongfully removed him from his homeland in Italy. The
 28    relationships and agreements between the parties further demonstrate that

                                                   1
             PETITIONER’S SUMMARY OF EVIDENCE SUPPORTING HAGUE CONVENTION
                                      ARGUMENTS
Case 8:24-cv-02556-DOC-ADS          Document 40   Filed 01/20/25   Page 2 of 5 Page ID
                                         #:581



   1   Respondent violated the custodial arrangements, necessitating judicial
   2   intervention to return Ethan to his home in Italy.
   3   b. The Petition Under the Hague Convention filed 10/24/2024 in Orange County
   4      Superior Court.
   5   Summary of Evidence Supporting Hague Convention Arguments
   6         1. Relationship of the Parties:
   7            • In 2011, Petitioner, an Italian national, met Respondent, a United
   8                States citizen, in Sorrento, Italy. At the time, Petitioner had a five-
   9                year-old daughter from a prior relationship.
 10             • Petitioner and Respondent initially became friends and later entered
 11                 into a romantic relationship, which ended after about a year.
 12             • Afterward, Petitioner married another man and had two children
 13                 during that marriage. Following nine years of marriage, Petitioner
 14                 and her husband divorced.
 15             • Petitioner and Respondent later reconnected in Italy, where their
 16                 relationship deepened, and Petitioner became pregnant with their
 17                 son, Ethan, the subject of this case.
 18          2. Habitual Residence:
 19             • Ethan was born on February 13, 2024, in Cincinnati, Ohio, after
 20                 Petitioner agreed to Respondent’s request to give birth in the United
 21                 States due to his belief that U.S. hospitals were better equipped for
 22                 the delivery.
 23             • The parties booked round-trip tickets, with a clear agreement that
 24                 the trip to the United States was temporary, lasting from January 26,
 25                 2024, through March 18, 2024.
 26             • The family, including Ethan, returned to their home in Italy on March
 27                 18, 2024, establishing Italy as Ethan’s habitual residence.
 28

                                                  2
             PETITIONER’S SUMMARY OF EVIDENCE SUPPORTING HAGUE CONVENTION
                                      ARGUMENTS
Case 8:24-cv-02556-DOC-ADS    Document 40      Filed 01/20/25   Page 3 of 5 Page ID
                                   #:582



   1        3. Parental Agreements and Visitation:
   2           • After the relationship between Petitioner and Respondent ended on
   3              August 5, 2024, they agreed on a visitation schedule. Initially,
   4              Respondent was allowed to visit Ethan twice daily, but this was later
   5              adjusted to mornings only, from 8:00 to 10:00 a.m., to better suit
   6              Ethan’s needs.
   7           • Respondent explicitly agreed that Ethan’s United States passport
   8              would remain in Petitioner’s care during his visitation, reaffirming
   9              Petitioner’s primary custodial authority.
 10         4. Wrongful Removal:
 11            • On August 30, 2024, during his scheduled visitation, Respondent
 12               refused to turn over Ethan’s passport to Petitioner and failed to
 13               return Ethan at the agreed time of 10:00 a.m.
 14            • Respondent sent Petitioner misleading WhatsApp messages, falsely
 15               claiming he would return Ethan soon and pretending he was still in
 16               Italy. However, he had already departed from Brindisi Airport for the
 17               United States via London.
 18            • At the time, Ethan was only six months old, exclusively
 19               breastfeeding, and reliant on Petitioner for his care.
 20         5. Efforts to Locate Ethan:
 21            • Petitioner promptly filed a police report on August 30, 2024, upon
 22               realizing that Respondent had abducted Ethan.
 23            • On September 5, 2024, Petitioner signed the Hague Convention
 24               application, and the Italian Central Authority worked with the U.S.
 25               Department of Justice to assist in locating Ethan.
 26            • It was determined that Respondent may have been residing in
 27               Mesa, Arizona, with friends. Further legal action resulted in the
 28

                                               3
           PETITIONER’S SUMMARY OF EVIDENCE SUPPORTING HAGUE CONVENTION
                                    ARGUMENTS
Case 8:24-cv-02556-DOC-ADS       Document 40     Filed 01/20/25   Page 4 of 5 Page ID
                                      #:583



   1                issuance of an Emergency Ex Parte Order and a Protective Custody
   2                Warrant on October 24, 2024.
   3         6. Timeliness of Action:
   4         Petitioner acted swiftly, filing her Hague Convention application and
   5   seeking legal intervention within weeks of Ethan’s wrongful removal.
   6                                        Conclusion
   7         Petitioner’s declaration provides clear evidence that Ethan’s habitual
   8   residence is in Italy, that his removal by Respondent was wrongful under the
   9   Hague Convention, and that Petitioner took immediate and appropriate steps to
 10    secure Ethan’s return. The relationships and agreements between the parties
 11    further demonstrate that Respondent violated the custodial arrangements,
 12    necessitating judicial intervention to return Ethan to his home in Italy.
 13
 14
       Date: January 20, 2025                        Respectfully Submitted,
 15
 16                                                  QUINN & DWORAKOWSKI LLP.
 17
 18
                                                     ___________________________
 19                                                  DAVID DWORAKOWSKI
 20                                                  Certified Family Law Specialist
                                                     Certified Appellate Law Specialist
 21                                                  Counsel for Petitioner-Mother
 22
 23
 24
 25
 26
 27
 28

                                                 4
             PETITIONER’S SUMMARY OF EVIDENCE SUPPORTING HAGUE CONVENTION
                                      ARGUMENTS
Case 8:24-cv-02556-DOC-ADS       Document 40     Filed 01/20/25     Page 5 of 5 Page ID
                                      #:584



   1                                  PROOF OF SERVICE
   2   Case Name: Ciampa v. Nichols
   3   USDC Case No. 24-CV-2556-DOC-ADS
   4         I, the undersigned, am over the age of eighteen years and am a resident of
   5   Orange County, California; I am not a party to the above-entitled action; my
   6   business address is 2050 Main Street, Suite 600, Irvine, CA 92614.
   7         On January 20, 2025, I electronically submitted for filing PETITIONER’S
   8   SUMMARY OF EVIDENCE SUPPORTING HAGUE CONVENTION
   9   ARGUMENTS with the Clerk of the Court using the District Court’s online filing
 10    service.
 11          On January 20, 2025, I served a true and correct copy of the
 12    PETITIONER’S CERTIFICATION AND NOTICE OF INTERESTED PARTIES on
 13    the following interested parties by electronic mail:
 14
       David W. Baumgarten, Esq.
 15
       Yale & Baumgarten, LLP.
 16    Attorneys for Respondent/Father
       1450 Frazee Rd. Ste. 403
 17    San Diego, CA 92108
 18    baum@yblaw.com
 19
 20          I declare under penalty of perjury that the foregoing is true and correct.
 21    Executed this 20th of January 2025, at Irvine, California.
 22
 23                                                  /s/Stephane Quinn
 24                                                  Stephane Quinn CFLS
 25
 26
 27
 28

                                                 5
             PETITIONER’S SUMMARY OF EVIDENCE SUPPORTING HAGUE CONVENTION
                                      ARGUMENTS
